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                                          10                                        UNITED STATES DISTRICT COURT
For the Northern District of California




                                          11                                       NORTHERN DISTRICT OF CALIFORNIA
    United States District Court




                                          12                                                  SAN JOSE DIVISION
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                                               JESSE HERNANDEZ et al.,                                       )   Case No.: 5:13-cv-2354-PSG
                                          14                                                                 )
                                                                             Plaintiff,                      )   ORDER RE: MOTIONS TO SEAL
                                          15              v.                                                 )
                                                                                                             )   (Re: Docket Nos. 129, 131, 132, 147, 149)
                                          16   COUNTY OF MONTEREY, et al.,                                   )
                                          17                                                                 )
                                                                             Defendants.                     )
                                          18                                                                 )

                                          19
                                                          Defendant California Forensic Medical Group seeks to seal a revised declaration,1 medical
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                                          21   documents of various inmates,2 and documents pertaining to a policy and procedure manual.3

                                          22   CFMG bases its motion on the parties’ stipulated protective order, which provides that “[f]or all

                                          23   pleadings that contain CONFIDENTIAL INFORMATION, the filing party shall seek leave of
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                                                   See Docket Nos. 129, 180-1, 344-1.
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                                               2
                                                   See Docket Nos. 131, 147, 149, 158, 159, 186, 211, 220.
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                                                   See Docket Nos. 131-2, 131-3.
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                                               court to file under seal consistent with the Local Rules for the Northern District of California.”4
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                                           2   This confidential information includes “operations records, institutional records, [and] medical

                                           3   records” that contain “security-sensitive information” and “confidential personal information.”5

                                           4              “Historically, courts have recognized a ‘general right to inspect and copy public records
                                           5
                                               and documents, including judicial records and documents.’”6 Accordingly, when considering a
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                                               sealing request, “a ‘strong presumption in favor of access’ is the starting point.”7 Parties seeking to
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                                               seal judicial records relating to dispositive motions bear the burden of overcoming the presumption
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                                               with “compelling reasons” that outweigh the general history of access and the public policies
                                           9

                                          10   favoring disclosure.8
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                                          11              However, “while protecting the public's interest in access to the courts, we must remain
    United States District Court




                                          12   mindful of the parties' right to access those same courts upon terms which will not unduly harm
                                          13
                                               their competitive interest.”9 Records attached to nondispositive motions therefore are not subject
                                          14
                                               to the strong presumption of access.10 Because the documents attached to nondispositive motions
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                                               “are often unrelated, or only tangentially related, to the underlying cause of action,” parties moving
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                                          17   to seal must meet the lower “good cause” standard of Rule 26(c).11 As with dispositive motions,

                                          18   the standard applicable to nondispositive motions requires a “particularized showing”12 that

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                                                   Docket No. 15 ¶ 7.
                                          20   5
                                                   Id. at ¶¶ 1-2.
                                          21   6
                                                Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v.
                                               Warner Commc’ns, Inc., 435 U.S. 589, 597 & n. 7 (1978)).
                                          22
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                                                   Id. (quoting Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)).
                                          23
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                                                   Id. at 1178-79.
                                          24
                                               9
                                                   Apple Inc. v. Samsung Electronics Co., Ltd., 727 F.3d 1214, 1228-29 (Fed. Cir. 2013).
                                          25
                                               10
                                                    See id. at 1180.
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                                                    Id. at 1179 (internal quotations and citations omitted).
                                          27
                                               12
                                                    Id.
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                                               “specific prejudice or harm will result” if the information is disclosed.13 “Broad allegations of
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                                           2   harm, unsubstantiated by specific examples of articulated reasoning” will not suffice.14 A

                                           3   protective order sealing the documents during discovery may reflect the court’s previous

                                           4   determination that good cause exists to keep the documents sealed,15 but a blanket protective order
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                                               that allows the parties to designate confidential documents does not provide sufficient judicial
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                                               scrutiny to determine whether each particular document should remain sealed.16
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                                                         In addition to making particularized showings of good cause, parties moving to seal
                                           8
                                               documents must comply with the procedures established by Civ. L.R. 79-5. Pursuant to
                                           9

                                          10   Civ. L.R. 79-5(b), a sealing order is appropriate only upon a request that establishes the document
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                                          11   is “sealable,” or “privileged or protectable as a trade secret or otherwise entitled to protection under
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                                          12   the law.” “The request must be narrowly tailored to seek sealing only of sealable material, and
                                          13
                                               must conform with Civil L.R. 79-5(d).”17 “Within 4 days of the filing of the Administrative
                                          14
                                               Motion to File Under Seal, the Designating Party must file a declaration as required by subsection
                                          15
                                               79-5(d)(1)(A) establishing that all of the designated material is sealable.”18
                                          16

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                                                 Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210-11 (9th Cir. 2002);
                                          18   see Fed. R. Civ. P. 26(c).
                                          19   14
                                                    Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992).
                                          20   15
                                                    See Kamakana, 447 F.3d at 1179-80.
                                          21   16
                                                 See Civ. L.R. 79-5(d)(1)(A) (“Reference to a stipulation or protective order that allows a party to
                                               designate certain documents as confidential is not sufficient to establish that a document, or
                                          22   portions thereof, are sealable.”).
                                          23   17
                                                 Civ. L.R. 79-5(b). In part, Civ. L.R. 79-5(d) requires the submitting party to attach a “proposed
                                               order that is narrowly tailored to seal only the sealable material” which “lists in table format each
                                          24   document or portion thereof that is sought to be sealed,” Civ. L.R. 79-5(d)(1)(b), and an
                                               “unreadacted version of the document” that indicates “by highlighting or other clear method, the
                                          25   portions of the document that have been omitted from the redacted version.”
                                               Civ. L.R. 79-5(d)(1)(d).
                                          26
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                                                  Civ. L.R. 79-5(e)(1). The Civil Local Rules have recently been amended shortening the time
                                          27   available to the designating party to file a supporting declaration from seven days to four days. As
                                               this rule change was only recently implemented the court applies the prior form of Civ. L.R. 79-5
                                          28   for the purposes of this order.
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                                                       With these standards in mind, the court rules on the instant motions as follows:
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                                           2   Motion       Document to be Sealed                     Result                 Reason/Explanation
                                                to Seal
                                           3   129        Docket No. 344-1,              SEALED.                             Confidential personal
                                                          correction to previously                                           information.
                                           4              granted Docket Nos.
                                                          129/180-1
                                           5   131        Docket No. 131-1 Exhibit I     SEALED.                             Confidential personal
                                                          to the Roof Declaration                                            information.
                                           6   131        Docket No. 131-2 Exhibit       NOT SEALED.                         Not security-sensitive
                                                          G to the Roof Declaration                                          or confidential
                                           7                                                                                 personal information.
                                               131        Docket No. 131-3 Exhibit       NOT SEALED.                         Not security-sensitive
                                           8              H to the Roof Declaration                                          or confidential
                                                                                                                             personal information.
                                           9   131        Docket No. 158-1 Exhibit       SEALED.                             Confidential personal
                                                          N to the Roof Declaration                                          information.
                                          10   131        Docket No. 186-1 Exhibit       SEALED.                             Confidential personal
                                                          C to the Wild Declaration                                          information.
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                                          11   131        Docket No. 211-1 Exhibit       SEALED.                             Confidential personal
                                                          F to the Wild Declaration                                          information.
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                                          12   131        Docket No. 220-1 Exhibit       SEALED.                             Confidential personal
                                                          H to the Wild Declaration                                          information.
                                          13   132        Docket No. 132-1 Exhibit I     SEALED.                             Confidential personal
                                                          to the Roof Declaration                                            information.
                                          14   147        Docket No. 147-1 Exhibit I     SEALED.                             Confidential personal
                                                          to the Roof Declaration                                            information.
                                          15   147        Docket No. 159-1 Exhibit       SEALED.                             Confidential personal
                                                          N to the Roof Declaration                                          information.
                                          16   149        Docket No. 149-1 Exhibit J     SEALED.                             Confidential personal
                                                          to the Roof Declaration                                            information.
                                          17

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                                               IT IS SO ORDERED.
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                                               Dated: October 24, 2014
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                                                                                            _________________________________
                                          21                                                PAUL S. GREWAL
                                                                                            United States Magistrate Judge
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